Case Number: NC-2016-0472
Filed in Newport County Superior Court
Submitted: 12/13/2016 4:16:43 PM

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Reviewer: Patricia DelBrocco

THE STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS

NEWPORT SUPERIOR COURT
DENNIS SZAFIR :
Plaintiff ; C.A. No. NC-2016-
Vs. :

MATHEW DAGUANNO, individually,
personally, and in his capacity as a police
officer, JACK CLARKE, individually,
personally, and in his capacity as a police
officer; THOMAS LEE, personally and

in official capacity as Chief of Police; and
THE TOWN OF PORTSMOUTH

Defendants

COMPLAINT
COMES NOW Plaintiff DENNIS SZAFIR, by and through counsel, with this verified .

Complaint for damages and other relief against Defendants, and declares and alleges as follows:

JURISDICTION

1. That this matter has been properly brought before this Honorable Court, as this action arises

under the laws of Rhode Island and the Constitution and laws of the United States,
including Article III, Section 1 of the U.S. Constitution brought in accordance with 42
U.S.C. 1983; :

. That this court has the jurisdiction in accordance with Lammar Corp v Rendine 1993, 811

F.Supp 47, and Felder v. Casey, 487 U.S. 131, 138-142, 108 S.Ct. 2302, 2306-2309, 101
L.Ed.2d 123 (1988) where the Court determined that a state "notice-of-claim” statute was
inapplicable to § 1983 actions brought in state or federal court; based on the principle that
§ 1983 claimants need not exhaust state judicial or administrative remedies before
instituting their suit in either state or federal court; and

. That the prayer for relief includes damages in excess of the statutory monetary

threshold of $10,000.

PARTIES

. That at all times relevant hereto, Plaintiff was a resident of the State of Rhode Island and a

citizen of the United States of America;
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That at all times relevant hereto, Defendant DAGUANNO was a citizen of the United
States and acting under color of state law in his capacity as a law enforcement officer
employed by the Defendant Town of Portsmouth, Rhode Island and/or of the Portsmouth
Police Department (“PPD”); and that Defendant DAGUANNO is being sued individually
and in his capacity as a police officer;

That at all times relevant hereto, Defendant CLARKE was a citizen of the United States
and acting under color of state law in his capacity as a law enforcement officer employed
by the Defendant Town of Portsmouth, Rhode Island and/or of PPD; and that Defendant
CLARKE is sued individually and in his capacity as a police officer;

That Defendant TOWN OF PORTSMOUTH (the “TOWN”) is a Rhode Island municipal
corporation and is the legal entity responsible for itself and for the PPD; ‘and that this
Defendant is also the employer of the individual Defendants and is a proper entity to be
sued under 42 U.S.C. § 1983;

That at all times relevant hereto, Defendant LEE, was a citizen of the United States and a
resident of the State of Rhode Island, and that Defendant LEE is being sued individually
and in his official capacity as the Chief of the PPD, employed by the Defendant TOWN
and/or the PPD, and was acting under color of state Jaw -

a) That as the Chief of the PPD, Defendant LEE both exercised and delegated his
municipal final decision making power, in cooperation with the Internal Affairs
Bureau (or its functional equivalent) and others;

b) That on information and belief, Defendant LEE also trained and supervised
individual Defendant officers;

That Defendant TOWN and Defendant LEE are properly sued directly under 42 U.S.C. §
1983 for their own and their delegated deliberately indifferent unconstitutional decisions,
policies, practice, habits, customs, usages, training and derelict supervision, ratification,
acquiescence and intentional failures which were moving forces in the complained of
constitutional and statutory violations and resulting injuries; and

That Defendant TOWN is also properly sued under 42 U.S.C. § 1983 for the challenged
delegated final decisions of Defendant LEE in his official capacity as the Chief of the
PPD, and for those of any final delegated decision makers, with respect to the hereinafter
challenged deliberately indifferent policies, decisions, widespread habits, customs, usages
and practices;

That Plaintiff is unaware of the specific legal names of Defendants, and therefore sues
Defendants in accordance with the hames on record and as cited above;

That Plaintiff will amend this complaint, as and when such name/s is/are ascertained and/or
as is otherwise necessary or advantageous to do so; and

That Plaintiff is informed and believes, and thereon alleges, that, at all relevant times herein
mentioned, all persons who were involved in dealings with Plaintiff, or were otherwise
involved in the interaction with Plaintiff, whether referred to herein or otherwise, who were
acting on behalf of others, whether individual or government agencies, were at all times
acting within the purpose and scope of their employment or agency.
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FACTUAL ALLEGATIONS
That on 14 December 2013 the PPD was allegedly called to Anthony House on 51 Middle

Road, Portsmouth, RI 02871, to investigate a noise complaint from a resident on the first
floor of the complex;

That Plaintiff was, at that time, and remains, a resident of Anthony House, occupying
Room 213 on the second floor;

That there was no disturbance whatsoever in the apartment of the Plaintiff, whether noise-
based or other, in or emanating therefrom, and no disturbance that may have been attributed
to the Plaintiff; .

That Plaintiff was not aware of any unusual noise or other disturbance on the second floor;
That at the time of the arrival of the PPD officers - Plaintiff was visiting a neighbor across
the hall in Room 209, for the purposes of consoling a friend who had lost a spouse;

That there was no noise or disturbance of any kind in, or emanating from, Room 209, while
Plaintiff was present therein, but for the sobbing of the aggrieved spouse;

That on returning to his room across the hall [a distance of some 5-6 feet], Plaintiff
observed a number of people in the hallway socializing, but did not stop;

That Plaintiff entered his apartment, lit a cigarette, poured himself a cup of coffee, and
resumed his conversation with Lloyd Farr (LF), a friend and former resident of Anthony
House, who was visiting with Plaintiff that evening;

That some 3-5 minutes after Plaintiff re-entered his apartment — Defendant DAGUANNO
(Officer D) and Defendant CLARKE (Officer C) knocked on the door and then entered

without notice or invitation ~ much to the surprise and disturbance of Plaintiff:

. That Plaintiff asked Officer D why he had come in, and what he wanted;
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That Officer D replied “so what’s going on? you having a party here? where are the
strippers ...”; or words to that effect;

That Plaintiff and LF were taken aback by this, as they had been having a quiet drink and
a chat over dinner;

That Plaintiff expressed his outrage in some rather colorful language when Officer D did

not provide a reasonable explanation for the unwelcomed and unjustified entry into his

toom;
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That Plaintiff was advised by LF to keep quiet, for fear that he would further upset Officer

D, who was clearly very angry with the Plaintiff;

That Officer D then demanded that Plaintiff produce some form of identification;

That Plaintiff told Officer D that this would take a minute, as this was in the next room,

and he had a bad back, a herniated disk, arthritis and crippled feet;

That Officer D responded to this declaration by ridiculing Plaintiff, i.e. stating that Plaintiff

‘looked like he was moving pretty good’ or words to that effect;

That following the return of Plaintiff to the kitchen with his identification, as ordered:

a. Officer D instructed Plaintiff to take a position whereby he was leaning on the kitchen
countertop with his legs spread and extended backwards;

b. Officer D took the legs out from under Plaintiff, causing him to hit the countertop face
first — smashing his teeth to bits and nearly knocking him out, before being driven.to
the floor by the officer;

c. Officer D then pinned Plaintiff to the floor while handcuffing him;

d. Officer D then picked the Plaintiff up by the handcuffs, which were fastened behind
his back;

e. Officer D then escorted the Plaintiff out of the building, and roughly threw him in the
patrol car;

That Plaintiff was given a terrific beating by a man more than twice his size — and for no

understandable or justifiable reason;

That Plaintiff suffered substantial injuries as a result of the conduct of Officer D, and the

failure of Officer C to intervene or otherwise prevent Officer D from beating the Plaintiff:

That LF witnessed the entire incident in the apartment;

That LF was so shocked by the behavior witnessed, that he was near paralyzed by fear,

concern and confusion;

That at the time of the incident, Plaintiff was 65 years old, weighed 110 pounds, and neither

made nor posed any threat whatsoever to the officers or to the exercise which they were

engaged in following the call to Anthony House;

That Officer D outweighed the Plaintiff by almost 100 pounds at the time of the incident;

That Plaintiff was charged with Disorderly Conduct — Offensive Words in a Public Place,

notwithstanding that the bad words used by Plaintiff:
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a. were not used in public, but in his apartment, and directed at the exercise and Officer
D for his improper entry and behavior; and
b. were otherwise not words which were ‘likely to provoke a violent reaction’;
That the following reports which appeared in the daily news on the day following the
incident, presumably taken from the police report - were erroneous, ie.
a. That officers responded to a noise complaint coming from the apartment of the
Plaintiff;
b. That Plaintiff was found ‘walking down the hallway’, and, ‘immediately’ (in the.
hallway) began... ‘yelling profanity at the police officers’; and
c. That Plaintiff was placed into handcuffs, at that time, (i.e. in the hallway) and at
which time he struggled;
That the ‘yelling’ and vulgarity of the Plaintiff was confined, to the apartment of the
Plaintiff — as was the beating he took;
That Plaintiff was also charged with Resisting Arrest, notwithstanding that he was suddenly

and completely overwhelmed by Officer D, and was therefore completely incapable of

_ doing any more than voicing his disbelief and anger when knocked down, abused and

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cuffed;

That Plaintiff was held overnight, and denied the medical attention he needed, and
requested. several times through the night, ic. prescribed medication for his various
ailments;

That on observation of the badly bruised body of Plaintiff, and the apparent injuries
sustained, following the arrest and overnight incarceration, the sister of the Plaintiff (VV),
went to the station to find out why her brother had been beaten;

That Plaintiff subsequently pled to the charges, on the advice of former counsel — to avoid
further stress, which resulted in the dismissal of one charge and a 1-year filing on the other;
That the incident and arrest caused the preexisting problems and ailments of the Plaintiff
to be exacerbated; and otherwise caused him a raft of new injuries, some of which would
appear to be irreparable;

That Plaintiff suffered the following as a result of the conduct of the PPD:

a. Broken Teeth
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b. Concussion, which led to vertigo and other problems
c. Exacerbation of back and disk problems
d. Severe bruising about the head and body
47. That the incident and arrest has also completely altered the lifestyle of the Plaintiff, as he
is now nearly immobile and is in dire need of assistance for the most routine of daily
activities; it is also the case that he has become, in effect, a recluse;
48. That as a result of the incident, Plaintiff is effectively couch-bound, as he —
a. Has trouble simply getting up to answer the door;
b. Can no longer get to the bathroom to relieve himself without considerable pain, and so
limits his visits; and .
c. Can no longer walk for more than 1-2 minutes without assistance, and so does not go
out of his building, or the apartment for that matter; and
49. That in addition to the physical problems suffered by Plaintiff, he has developed a raft of
what appear to be phobias, and so spends his days on the couch, in an apartment with the

lights off — living in a cocoon he is apparently afraid to leave.

CLAIMS FOR RELIEF

 

50, That Plaintiff hereby incorporates all previous paragraphs of this Complaint as though
fully set forth in the following Counts:

COUNT 1

ASSAULT
(Defendant Daguanno)

51, That Defendant DAGUANNO assaulted Plaintiff, in that -
a. Defendant intentionally took action which threatened Plaintiff with harmful and

offensive contact;

b. Defendant created a reasonable apprehension of harmful or offensive contact in
another; and

c. Defendant had the apparent ability to cause the harmful and offensive contact
threatened:
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That Defendant unlawfully, intentionally and deliberately took action, without
qualification of any kind — which created the reasonable apprehension in the Plaintiff of
receiving an immediate battery;

That the actions taken by Defendant were in no way justifiable or otherwise excusable;
That Plaintiff has suffered and wil! continue to suffer mental pain and anguish, severe
emotional trauma, embarrassment and humiliation as a result of the intentional and
aggressive behavior of Defendant; and

That as a direct and proximate result of Defendant’s intentional actions, Plaintiff has

suffered general and special damages in an amount to be determined at trial.

COUNT 2
BATTERY
(Defendant Daguanno)

That Defendant DAGUANNO battered the Plaintiff, in that -
a. Defendant intentionally made unlawful contact with the Plaintiff;
b. Defendant made contact with another in a harmful or offensive manner, and.
c. Defendant made such contact without consent or other justification;
That Defendant unlawfully, intentionally and deliberately — and with malice, battered
Plaintiff and knocked him concussed;
That the physical harm suffered by the Plaintiff has required substantial medical
attention, which was ongoing at the time of the filing of this Complaint,
That the actions taken by Defendant were in no way justified or otherwise excusable;
That Plaintiff has suffered and will continue to suffer mental pain and anguish, severe
emotional trauma, embarrassment, and humiliation as a result of the intentional and
aggressive behavior of Defendant; and
That as a direct and proximate result of Defendant’s intentional actions, Plaintiff has

suffered general and special damages in an amount to be determined at trial.

COUNT 3
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
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(Defendant Daguanno)

62. That Defendant DAGUANNO intentional caused the Plaintiff emotional distress, in that -
a. The conduct was intentional or otherwise taken in reckless disregard of the
probability of causing emotional distress;
b. The conduct was extreme and outrageous;
c. The wrongful conduct is causally connected to the emotional distress; and
d. The emotional distress in question is severe;

63. That Defendant’s conduct was “so outrageous in character and so extreme in degree, as
to go beyond all possible bounds of decency and to be regarded as atrocious and utterly
intolerable in a civilized community” (Swerdlick v. Koch, 721 A.2d 849, 862, (R.I. 1998)
quoting Champlin v. Washington Trust Co. of Westerly, 478 A.2d 985, 988-89 (RL.
1984));

64. That the extreme and outrageous nature of the conduct was such that the likelihood of its
material impact on the mental and emotional well-being of Plaintiff would have to have
been seen as a certainty;

65. That Defendant intentionally and deliberately inflicted emotional distress on Plaintiff by.
brutalizing and terrorizing Plaintiff — and then compounding those wrongs by ridiculing
the Plaintiff in the process of the attack;

66. That the actions taken by Defendant were in no way justifiable or otherwise excusable;

67. That Plaintiff has suffered and will continue to suffer mental pain and anguish, severe
emotional trauma, embarrassment, and humiliation; and

68. That as a direct and proximate result of Defendant’s intentional actions, Plaintiff has

suffered general and special damages in an amount to be determined at trial.

COUNT 4
NELIGENCE
(Defendant Daguanno)

69. That Defendant DAGUANNO, at all relevant times, owed a duty of reasonable care to
Plaintiff:
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70. That Defendant breached the duty of care by failing to meet the appropriate standard of
care with respect to his interaction with the Plaintiff;

71. That the actions taken by Defendant were in no way justifiable or otherwise excusable;

72. That as a direct and proximate result of the unreasonable behavior of Defendant, Plaintiff
has suffered measureable general and special damages in an amount to be determined at
trial; and

73. That as a direct and proximate result of Defendant’s unreasonable behavior, Plaintiff has

suffered general and special damages in an amount to be determined at trial.

COUNT 5
Excessive Force in Violation of Fourth and Fourteenth Amendments
42 US.C. § 1983
(Defendant Policemen and Chief of PPD)

74. That Plaintiff is entitled to relief in accordance with 42 U.S.C. § 1983, which provides
that:

Every person, who under color of any statute, ordinance, regulation, custom or usage of
any State or territory or the District of Columbia subjects or causes to be subjected any citizen of
the United States or other person within the jurisdiction thereof to the deprivation of any rights,
privileges or immunities secured by the constitution and law shall be liable to the party injured
in an action at law, suit in equity, or other appropriate proceeding for redress .. .

75. That Plaintiff in this action is a citizen of the United States and all of the individual police
officer Defendants to this claim are persons for purposes of 42 U.S.C. § 1983;

76. That the individual Defendants.to this claim, at all times relevant hereto, were acting
under the color of state law in their capacity as police officers and their acts or omissions
were conducted within the scope of their official duties or employment;

77. That at the time of the complained of events, Plaintiff had a clearly established
constitutional right under the Fourth Amendment to be secure in his person from
unreasonable seizure through excessive force;

78. That Plaintiff also had the clearly established Constitutional right under the Fourteenth
Amendment to bodily integrity and to be free from excessive force by law enforcement;

. 79. That any reasonable police officer knew or should have known of these rights at the time

of the complained of conduct as they were clearly established at that time;
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80, That Defendants actions and use of force, as described herein, were objectively
unreasonable in light of the facts and circumstances confronting them and violated these
Fourth Amendment rights of Plaintiff:

81. That Defendants actions and use of force, as described herein, were also malicious and/or
involved reckless, callous, and deliberate indifference to Plaintiffs federally protected
rights; ,

82. That the force used by these Defendant officers shocks the conscience and violated these
Fourteenth Amendment rights of Plaintiff:

83. That Defendants unlawfully seized Plaintiff by means of objectively unreasonable,
excessive and conscious shocking physical force, thereby unreasonably restraining
Plaintiff of his freedom:

84, That the force used constituted deadly force in that it could have caused death and did
cause serious bodily injury;

85. That neither of the Defendant officers took reasonable steps to protect Plaintiff from the
objectively unreasonable and conscience shocking excessive, despite being in a position
to do so;

86. That the Defendant officers are each therefore liable for the i injuries and damages
resulting from the objectively unreasonable and conscience shocking force of each other
officer;

87. That Defendants engaged in the conduct described by this Complaint willfully,
maliciously, in bad faith, and in reckless disregard of Plaintiff's federally protected
constitutional rights;

88. That the Defendant officers did so with shocking and willful indifference to Plaintiffs

rights and their conscious awareness that they would cause Plaintiff severe physical and
emotional injuries;

89. That the acts or omissions of all individual Defendants were moving forces behind
Plaintiff’ s injuries;

90. That the individual Defendants acted in concert and joint action with each other:

91. That the acts or omissions of Defendants as described herein intentionally deprived
Plaintiff of his constitutional rights and caused him other damages; individual Defendants

are not entitled to qualified immunity for the complained of conduct:,

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That the Defendants to this claim at all times relevant hereto were acting pursuant to
municipal, county, custom, policy, decision, ordinance, regulation, widespread habit,
usage, or practice in their actions pertaining to Plaintiff;

That as a proximate result of Defendants’ unlawful conduct, Plaintiff has suffered actual
physical and emotional injuries, and other damages and losses as described herein

entitling him to compensatory and special damages, in amounts to be determined at trial;

. That as a further result of the Defendants’ unlawful conduct, Plaintiff has incurred special

damages, including medically related expenses and may continue to incur further
medically and other special damages related expenses, in amounts to be established at
trial;

That on information and belief, Plaintiff may suffer lost future earnings and impaired —
earnings capacities from the not yet fully ascertained — due to the nature of his injuries,
in amounts to be ascertained in trial.

That Plaintiff is further entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §1988,
pre-judgment interest and costs as allowable by federal law; and that there may also be
special damages; and .

That in addition to compensatory, economic, consequential and special damages, Plaintiff
is entitled to punitive damages against each of the individually named Defendants under
42 U.S.C. § 1983, in that the actions of each of these individual Defendants have been
taken maliciously, willfully or with a reckless or wanton disregard of the constitutional
rights of Plaintiff.

COUNT 6

Discrimination in Violation of the Equal Protection Clause of the
Fourteenth Amendment and 42 U.S.C. § 1981
42 U.S.C. § 1983

(Defendant Policemen and Chief of PPD)

That Plaintiff is entitled to relief in accordance with 42 U.S.C. § 1983, which provides
that:

Every person, who under color of any statute, ordinance, regulation, custom or usage of

any state or territory or the District of Columbia subjects or causes to be subjected any citizen of
the United States or other person within the jurisdiction thereof to the deprivation of any rights,

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privileges or immunities secured by the constitution and law shall be liable to the party injured
in an action at law, suit in equity, or other appropriate proceeding for redress .. .

99, That Plaintiff in this action is a citizen of the United States and all of the individual police
officer Defendants to this claim are persons for purposes of 42 U.S.C. § 1983;

100. That the individual Defendants to this claim, at all times relevant hereto, were
acting under the color of state law in their capacity as police officers and their acts or
omissions were conducted within the scope of their official duties or employment:

101, That at the time of the complained of events, Plaintiff had the clearly established
constitutional right to be free from discrimination in law enforcement by police officers
and to enjoy the equal protection of the laws;

102. That Title 42 U.S.C. § 1981("Section 1981") provides, in pertinent part:

All persons within the jurisdiction of the United States shall have the same right in every
State and Territory to make and enforce contracts, to sue, be parties, give evidence, and to the
full and equal benefit of all laws and proceedings for the security of persons and property as is
enjoyed by white citizens, and shall be subject to like punishment, pains, penalties, taxes,
licenses, and exactions of every kind, and to no other.

103. That Plaintiff, as member of a protected class, and thus also had the clearly
established statutory right under this provision to be free from class motivated beatings,
arrests, searches, and the filing of false charges; .

104. That any reasonable police officer knew or should have known of these rights at
the time of the complained of conduct as they were clearly established at that time;

105. That Plaintiff's profile was a motivating factor in the decisions to use excessive
force and then maliciously prosecute Plaintiff with false charges.

106, That Defendants’ conduct was undertaken with the purpose of depriving Plaintiff
of the equal protection and benefits of the law, equal privileges and immunities under the
law, and due process in violation of the Fourteenth Amendment and §1981;

107. That Defendants engaged in the conduct described by this Complaint willfully,
maliciously, in bad faith, and in reckless disregard of Plaintiffs federally protected
rights;

108. That the acts or omissions of all individual Defendants were moving forces

behind Plaintiff's injuries;

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109. That individual Defendants acted in concert and joint action with each other;
110. That the acts or omissions of Defendants as described herein intentionally

deprived Plaintiff of his constitutional and statutory rights and caused him other damages;

111. That Defendants are not entitled to qualified immunity for the complained of
conduct;
112. That Defendants to this claim at all times relevant hereto were acting pursuant to

municipal, county custom, policy, decision, ordinance, regulation, widespread habit,
usage, or practice in their actions pertaining to Plaintiff;

113. That as a proximate result of Defendants’ unlawful conduct, Plaintiff has suffered
actual physical and emotional injuries, and other damages and losses as described herein
entitling him to compensatory and special damages, in amounts to be determined at trial;

114, That as a further result of the Defendants’ unlawful conduct, Plaintiff has incurred
special damages, including medically related expenses and may continue to incur further
medically and other special damages related expenses, in amounts to be established at
trial;

115. That on information and belief, Plaintiff may suffer lost future earnings and
impaired earnings capacities from the not yet fully ascertained sequelae of his closed
head injury, in amounts to be ascertained in trial;

116. That Plaintiff is further entitled to attorneys’ fees and costs pursuant to 42 U.S.C.
§1988, pre-judgment interest and costs as allowable by federal law. There may also be
special damages for lien interests; and .

117. That in addition to compensatory, economic, consequential and special damages,
Plaintiff is entitled to punitive damages against each of the individually named
Defendants under 42 U.S.C. § 1983, in that the actions of each of these individual
Defendants have been taken maliciously, willfully or with a reckless or wanton disregard

of the constitutional and statutory rights of Plaintiff.

" COUNT 7

Retaliation in Violation of the First Amendment
42 U.S.C. § 1983

(Defendant Policemen and Chief of PPD)

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118. That Plaintiff is entitled to relief in accordance with 42 U.S.C. § 1983, which
provides that:

Every person, who under color of any statute, ordinance, regulation, custom or usage of

any state or territory or the District of Columbia subjects or causes to be subjected any citizen of
the United States or other person within the jurisdiction thereof to the deprivation of any rights,
privileges or immunities secured by the constitution and law shall be liable to the party injured
in an action at law, suit in equity, or other appropriate proceeding for redress .. .

«2119. That Plaintiff in this action is a citizen of the United States and all of the

individual police officer Defendants to this claim are persons for purposes of 42 U.S.C. §
1983;

120. That the individual Defendants to this claim, at all times relevant hereto, were
acting under the color of state law in their capacity as police officers and their acts or
omissions were conducted within the scope of their official duties or employment;

121. That at the time of the complained of events, Plaintiff had the clearly established
constitutional right to be free from retaliation for the exercise of protected speech;

122. That any reasonable police officer knew or should have known of this right at the
time of the complained of conduct as it was clearly established at that time;

123. That Plaintiff exercised his constitutionally protected right to question law
enforcement and/or engaged in protected speech related to the constitutional rights of
citizens with respect to searches of their property by the police and objectionable police
conduct;

124, That retaliatory animus for Plaintiff’s exercise of his constitutionally protected
right to question police officers regarding the scope of their legal authority to search his
trunk was a substantially motivating factor in the excessive force used by individual
Defendants;

125, That the excessive force used against Plaintiff in retaliation for his protected
conduct would deter a person of ordinary firmness from continuing to engage in the
protected conduct;

126, That the Defendant officers participated in this use of force as a means of
retaliation for his protected speech and none of the Defendant officers took reasonable

steps to protect Plaintiff from this retaliation for the protected speech; and that they are

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each therefore liable for the injuries and damages resulting from the objectively
unreasonable and conscience shocking force of each other officer;

127. That Defendants engaged in the conduct described by this Complaint willfully,
maliciously, in bad faith, and in reckless disregard of Plaintiff's federally protected
constitutional rights;

128. That the acts or omissions of all individual Defendants were moving forces
behind Plaintiff's injuries;

129, That individual Defendants acted in concert and joint action with each other;

130. That the acts or omissions of Defendants as described herein intentionally
deprived Plaintiff of his constitutional and statutory rights and caused him other damages;

131. That Defendants are not entitled to qualified immunity for the complained of
conduct; .
132. That Defendants to this claim at all times relevant hereto were acting pursuant to

municipal/county custom, policy, decision, ordinance, regulation, widespread habit,
usage, or practice in their actions pertaining to Plaintiff;

133. That as a proximate result of Defendants’ unlawful conduct, Plaintiff has suffered
actual physical and emotional injuries, and other damages and losses as described herein
entitling him to compensatory and special damages, in amounts to be determined at trial;

134. That as a further result of the Defendants’ unlawful conduct, Plaintiff has incurred
special damages, including medically related expenses and may continue to incur further
medically and other special damages related expenses, in amounts to be established at
trial;

135. That on information and belief, Plaintiff may suffer lost future earnings and
impaired earnings capacities from the not yet fully ascertained sequelae of his closed
head injury, in amounts to be ascertained in trial;

136. That Plaintiff is further entitled to attorneys” fees and costs pursuant to 42 U.S.C.
§1988, pre-judgment interest and costs as allowable by federal law; and that there may
also be special damages for lien interests; and

137, That in addition to compensatory, economic, consequential and special damages,
Plaintiff is entitled to punitive damages against each of the individually named
Defendants under 42 U.S.C. § 1983, in that the actions of each of these individual

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Defendants have been taken maliciously, willfully or with a reckless or wanton disregard

of the constitutional rights of Plaintiff.

COUNT 8

Malicious Prosecution in violation of Fourth & Fourteenth Amendments
- 42 U.S.C. § 1983

(Defendant Policemen and Chief of PPD)

138. That Plaintiff is entitled to relief in accordance with 42 U.S.C. § 1983, which
provides that:

Every person, who under color of any statute, ordinance, regulation, custom or usage of any

state or territory or the District of Columbia subjects or causes to be subjected any citizen of the
United States or other person within the jurisdiction thereof to the deprivation of any rights,
privileges or immunities secured by the constitution and law shall be liable to the party injured
in an action at law, suit in equity, or other appropriate proceeding for redress...

139. That Plaintiff in this action is a citizen of the United States and the individual
police officer Defendants to this claim are persons for purposes of 42.U.S.C. § 1983;

140. That the individual Defendants to this claim, at all times relevant hereto, were
acting under the color of state law in their capacity as police officers and their acts or
omissions were conducted within the scope of their official duties or employment;

14]. That at the time of the events as herein described, Plaintiff had the clearly
established constitutional right to be free from malicious prosecution without probable
cause under the Fourth Amendment and in violation of due process under the Fourteenth
Amendment;

142, That any reasonable police officer knew or should have known of these rights at
the time of the complained of conduct as they were clearly established at that time;

143, That the individual Defendants violated Plaintiff’s Fourth and Fourteenth
Amendment rights to be free from malicious prosecution without probable cause and
without due process when they worked in concert to secure false charges against him,
resulting in his unlawful confinement and prosecution;

144, That the individual Defendants conspired and/or acted in concert to institute,
procure and continue a criminal proceeding for disorderly conduct and resisting arrest,

without sufficient cause;

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145. That Defendants engaged in the conduct described by this Complaint willfully,
maliciously, in bad faith, and in reckless disregard of Plaintiff's federally protected
constitutional rights;

146. That the procurement of prosecution against Plaintiff for the known to be false
allegations of disorderly conduct and resisting arrest, in the light of all the circumstances,

147. That those criminal proceedings terminated in Plaintiff's favor;

148. That the acts or omissions of all individual Defendants were moving forces
behind Plaintiff's injuries;

149, That the individual Defendants acted in concert and joint action with each other;

150. That the acts or omissions of Defendants as described herein intentionally

deprived Plaintiff of his constitutional and statutory rights and caused him other damages;

151. That Defendants are not entitled to qualified immunity for the complained of
conduct;
152. That Defendants to this claim at all times relevant hereto were acting pursuant to

municipal/county custom, policy, decision, ordinance, regulation, widespread habit,
usage, or practice in its actions pertaining to Plaintiff,

153. That as a proximate result of Defendants’ unlawful conduct, Plaintiff has suffered
actual physical and emotional injuries, and other damages and losses as described herein
entitling him to compensatory and special damages, in amounts to be determined at trial;

154. That as a further result of the Defendants’ unlawful conduct, Plaintiff has incurred
special damages, including medically related expenses and may continue to incur further
medically or other special damages related expenses, in amounts to be established at trial;

155. That on information and belief, Plaintiff may suffer lost future earnings and
impaired earnings capacities from the not yet fully ascertained sequelae of his closed.
head injury, in amounts to be ascertained in trial;

156. That Plaintiff is further entitled to attorneys’ fees and costs pursuant to 42 U.S.C.
§1988, pre-judgment interest and costs as allowable by federal law; and that there may
also be special damages for lien interests; and

157. That in addition to compensatory, economic, consequential and special damages,
Plaintiff is entitled to punitive damages against each of the individually named.
Defendants under 42 U.S.C. § 1983, in that the actions of each of these individual

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Defendants have been taken maliciously, willfully or with a reckless or wanton disregard

of the constitutional rights of Plaintiff.

COUNT 9

Deliberately Indifferent Policies, Practices, Customs,
Training, and Supervision in violation of the Fourth, Fourteenth, and First
' Amendments and in violation of 42 U.S.C. § 1981
42 U.S.C. § 1983

(Defendant Town and Chief of PPD)

158. That Plaintiff is entitled to relief in accordance with 42 U.S.C. § 1983, which

provides that:

Every person, who under color of any statute, ordinance, regulation, custom or usage of

any state or territory or the District of Columbia subjects or causes to be subjected any citizen of
the United States or other person within the jurisdiction thereof to the deprivation of any rights,
privileges or immunities secured by the constitution and law shall be liable to the party injured
in an action at law, suit in equity, or other appropriate proceeding for redress...

159. That Plaintiff in this action is a citizen of the United States and Defendants to this

claim are persons for purposes of 42 U.S.C. § 1983;

160. That Defendants LEE and TOWN were at all times relevant hereto acting under

161.

the color of state law;
That Plaintiff had the following clearly established rights at the time of the

complained of conduct, to wit, the:

a. Right to be secure in his person from unreasonable seizure through excessive force,
under the Fourth Amendment;

b. Right to bodily integrity and to be free from excessive force by law enforcement under
the Fourteenth Amendment;

c, Right to exercise his constitutional rights of free speech under the First Amendment
without retaliation;

d. Right to be free from discrimination by police under the Equal Protection Clause of the
Fourteenth Amendment and under 42 U.S.C. § 1981; and

e. Right to be free from malicious prosecution in accordance with the Fourth and
Fourteenth Amendments;

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162. That Defendants knew or should have known of these rights at the time of the
complained of conduct as they were clearly established at that time;

163. That the acts or omissions of these Defendants, as described herein, deprived
Plaintiff of his constitutional and statutory rights and caused him other damages;

164, That the acts or omissions of Defendants as described herein intentionally

deprived Plaintiff of his constitutional and statutory rights and caused him other damages;

165. That Defendants are not entitled to qualified immunity for the complained of
conduct;
166. That Defendants were, at all times relevant, policymakers for the Town of

Portsmouth and the PPD, and in that capacity established policies, procedures, customs,
and/or practices for the same:

167, That these Defendants developed and maintained policies, procedures, customs,
and/or practices exhibiting deliberate indifference to the constitutional rights of citizens,
which were moving forces behind and proximately caused the violations of Plaintiff's
constitutional and federal rights as set forth herein and in the other claims, resulted from a
conscious or deliberate choice to follow a course of action from among various available
alternatives;

168. That Defendants have created an atmosphere of tolerance for the type of improper
behavior detailed in this Complaint through the development of standing, department-
wide customs, law enforcement related policies, procedures, customs, practices, and/or
have failed to properly train and/or supervise its officers in a manner amounting to
deliberate indifference to the constitutional rights of Plaintiff and of the public;

169. That in light of the duties and responsibilities of those police officers that
participate in arrests and preparation of police reports on alleged crimes, the need for
specialized training and supervision is so obvious, and the inadequacy of training and/or
supervision is so likely to result in the violation of constitutional and federal rights such
as those described herein that the failure to provide such specialized training and
supervision is deliberately indifferent to those rights;

170. That the deliberately indifferent training and supervision provided by Defendants

resulted from a conscious or deliberate choice to follow a course of action from among

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various alternatives available to Defendants and were moving forces in the constitutional
and federal violation injuries complained of by Plaintiff;

171. That as a direct result of Defendants’ unlawful conduct, Plaintiff has suffered
actual physical and emotional injuries, and other damages and losses as described herein
entitling him to compensatory and special damages, in amounts to be determined at trial;

172. That as a further result of the Defendants’ unlawful conduct, Plaintiff has incurred
special damages, including medically related expenses and may continue to incur further
medically or other special damages related expenses, in amounts to be established at trial;

173. That on information and belief, Plaintiff may suffer lost future earnings and
impaired earnings capacities from the not yet fully ascertained sequelae of his closed
head injury, in amounts to be ascertained in trial;

174. That Plaintiff is further entitled to attorneys’ fees and costs pursuant to 42 U.S.C.
§1988, pre-judgment interest and costs as allowable by federal law; and that there may
also be special damages; and -

175, That Plaintiff seeks appropriate declaratory and injunctive relief pursuant to 42
U.S.C. § 1983 to redress Defendants’ above described ongoing deliberate indifference in
policies, practices, habits, customs, usages, training and supervision with respect to the
rights described herein, and with respect to the ongoing policy and/or practice of the
Internal Affairs Bureau of failing to investigate or appropriately handle complaints of the
same, which Defendants have no intention for voluntarily correcting despite obvious need

and requests for such correction.

WHEREFORE, Plaintiff requests a TRIAL BY JURY, and prays this Court enter judgment

for the Plaintiff and against each of the Defendants and grant:

1. Compensatory and consequential damages, including damages for emotional distress, .
humiliation, loss of enjoyment of life, and other pain and suffering on all claims allowed
by law in an amount to be determined at trial;

2. Economic losses on all claims allowed by law;

3. Special damages in an amount to be determined at trial; .

4, Punitive damages on alli claims allowed by law against individual Defendants
and in an amount to be determined at trial;

5. Attorneys’ fees and the costs associated with this action under 42 U.S.C. § 1988,

. including expert witness fees, on all claims allowed by law;

6. Interest at the lawful rate; and

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7. Further relief as the Court deems just and proper, and any other relief at law a1
equity as may be appropriate.

‘Petef Tashjian
1745“Main Road
Tiverton, RI 02878

401-4701-47833

tashjianlegal@cox.net

   

VERIFICATION
I, DENNIS SZAFIR, being duly sworn, depose and declare that I am the Plaintiff in the
above-entitled action; and that I have read the foregoing Complaint and know the contents thereof,

&
and that said contents are true to the best of my knowledge. <

DENNIS

ARN OWL EGE

Cert and oyom to before me on this - LE Tes JF aay of Peed 2016, in the Toyen Of a
County of _ A gw fA AT, intl , in the State of RhodeAsland.

CERTIFICATE OF FILING AND SERVICE

I hereby certify that, on 1 #7 At 3 LEE , [ filed this document through the electronic filing system; that this

document was emailed to counsel 6f the Town of Portsmouth Attorney Kevin Gavin by email at kpgavin@aol.com

and certified mail at 31 Harrington Ave, Portsmouth, RI 02871; that a copy was hand delivered to pe
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and that the document electronically filed and served is available for viewing and/or downloadipg ffom the Kho

Island Judiciary’s Electronic Filing System. bee far

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